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        THAT ONE VIDEO ENTERTAINMENT, LLC, a
    7   California limited liability company
    8
                              UNITED STATES DISTRICT COURT
    9
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
   10
   11   THAT ONE VIDEO                          CASE NO: 2:23-cv-02687 SVW (JCx)
        ENTERTAINMENT, LLC, a
   12   California limited liability company,
                                                [Assigned to the Hon. Stephen V. Wilson;
   13                Plaintiff,                  Ctrm 10A]
           vs.
   14
        KOIL CONTENT CREATION PTY               [PROPOSED] ORDER GRANTING
   15   LTD., an Australian proprietary         STIPULATION TO CONTINUE TRIAL
        limited company doing business as       AND ALL RELATED DEADLINES
   16   NOPIXEL; MITCHELLE CLOUT,
        an individual; and DOES 1-25,           Action Filed: April 10, 2023
   17   inclusive,                              Trial Date: September 17, 2024
   18               Defendants.

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          [PROPOSED] ORDER GRANTING STIPULATION TO CONTINUE TRIAL
                        AND ALL RELATED DEADLINES
Case 2:23-cv-02687-SVW-JC Document 41-1 Filed 07/15/24 Page 2 of 2 Page ID #:223



    1                               [PROPOSED] ORDER
    2        Having read and considered the Stipulation to Continue Trial and All Related
    3   Deadlines (the “Stipulation”), the court finds good cause has been shown, and
    4   hereby GRANTS the Stipulation, and ORDERS as follows:
    5        1.    The trial is continued to ___________________________;
    6        2.    The Final Pretrial Conference is continued to ____________________;
    7        3.    The Plaintiff’s deadline to designate its expert and provide a final
    8              report is ________________________________.
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   10        IT IS SO ORDERED.
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   12   DATED: ____________________                 By:____________________________
                                                         Stephen V. Wilson
   13                                                    UNITED STATES DISTRICT
   14                                                    COURT JUDGE
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          [PROPOSED] ORDER GRANTING STIPULATION TO CONTINUE TRIAL
                        AND ALL RELATED DEADLINES
